           Case 1:21-cv-00279-LY Document 50 Filed 10/06/22 Page 1 of 2



                         IN THE UNITED STATES DISTRICT COURT                              FILED
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION                                    OCT      62022
                                                                                  CLERK   U.S
J.R., A MINOR, BY HIS PARENTS AND                                                   SENISTC
NEXT FRIENDS ANALISA AND JOE R.;
D.J., A MINOR, BY HIS PARENTS AND
NEXT FRIENDS LAURIE AND DAMON
J; A.T., A MINOR, BY HER PARENTS
AND NEXT FRIENDS ANDREA AND
CLINT T.; G.S., A MINOR, BY HER
PARENTS AND NEXT FRIENDS JARIN                         CAUSE NO. l:21-CV-279-LY
AND SEAN S.; A.S., A MINOR, BY HIS
PARENT AND NEXT FRIEND MARIA
N.; AND DISABILITY RIGHTS TEXAS,
                          PLAINTIFFS,

V.


AUSTIN INDEPENDENT SCHOOL
DISTRICT,
                     DEFENDANT

                                              ORDER

       Before the court is the above-referenced cause. As of the date of this order, the parties have

not filed a proposed agreed scheduling order in accordance with Federal Rule of Civil Procedure 26

and the Local Rules of this court. Therefore,

       IT IS ORDERED that the parties are to submit to the court a Proposed Agreed Scheduling

Order, in accordance with Federal Rule of Civil Procedure 26(f), that follows the form scheduling

order ofthis court located on the website for the United States District Court for the Western District
           Case 1:21-cv-00279-LY Document 50 Filed 10/06/22 Page 2 of 2



of Texas (https://www.txwd.uscourts.gov/), the "Forms" tab, "Civil," "Austin Division," "Proposed

Scheduling Order for Judge Yeakel," on or before October 28, 2022.

       SIGNED this                day of October, 2022.




                                            UNITED STATES DISTRICT JUDGE




                                               2
